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                                                                                        ELECTRONICALLY
                                                                                            FILED
                     IN THE UNITED STATES DISTRICT COURT                                  Jul 09 2020
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA                          U.S. DISTRICT COURT
                                                                                     Northern District of WV


                                      )
                                                                               2:20-CV-19 (Kleeh)
JANE DOE.,                            )                      Civil Action No. ______________
                                      )
               Plaintiff              )
v.                                    )                      COMPLAINT
                                      )
TIMOTHY PHILLIPS,                     )                      JURY TRIAL DEMANDED
                                      )
               Defendant.             )
                                      )

                                          COMPLAINT

        Plaintiff, Jane Doe, 1 brings this claim to compensate her for the years of forced labor

Defendant coerced her to perform at his business in Elkins, West Virginia, and the long-term, far-

reaching harms that forced labor has caused. The Defendant lured Plaintiff to move from Morocco

to the United States, promising to care for her after she relocated. However, once Plaintiff arrived

in West Virginia, Defendant required that she begin working at his business.

        Over the following three years, Plaintiff was required to work long hours for little pay.

Defendant isolated, threatened, and stole from Plaintiff to force her to continue working for his

business. When Plaintiff attempted to stop working for the Defendant, he punished her by starving

her for days at a time. While Plaintiff has since escaped Defendant’s control, the effects of this

forced labor remain. Plaintiff has been denied years of compensation for work she performed, and

has suffered significant trauma and emotional distress. Plaintiff brings this claim under the




1
  As discussed in Plaintiff’s Motion to Proceed Pseudonymously, Plaintiff respectfully requests
this Court permit her to proceed pseudonymously in this action, given the sensitive nature of the
harms she has suffered including violations of the Trafficking Victims Protection Act, and the
significant domestic violence described herein.
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Trafficking Victims Protection Act, the Fair Labor Standards Act, and the West Virginia Wage

Payment and Collection Act to compensate her for these harms.

                                       Jurisdiction and Venue

        1.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331.

        2.       This Court has supplemental jurisdiction over state law claims pursuant to 28

U.S.C. § 1367.

        3.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b). Defendant resides

in this district and a substantial part of the events giving rise to this claim occurred in this district.

                                                Parties

        4.       Plaintiff is a thirty-six-year-old citizen of Morocco. She currently resides in the

United States.

        5.       Defendant Timothy Phillips is a resident of Randolph County, West Virginia.

Defendant is the sole proprietor of Busy Bee Detail Shop, which has a principal office address of

RR 1 Box 187, Elkins West Virginia 26241.

                                          Statement of Facts

        6.       Plaintiff is a citizen of Morocco who, until 2015, resided in Casablanca, Morocco.

        7.       In or around 2014, Plaintiff and Defendant were put in contact with one another by

one of Defendant’s employees. Defendant had expressed to this employee that he would like to

have a wife from Morocco.

        8.       Plaintiff and Defendant communicated over the telephone for approximately six

months. Six months after being introduced, Defendant travelled to Morocco, where he proposed

to Plaintiff.



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         9.    Defendant induced Plaintiff to move to West Virginia, promising that he would

care for her once she moved to the United States. During the period that Defendant was convincing

Plaintiff to leave Morocco, Defendant did not inform her that she would be required to work for

him once she arrived in West Virginia.

         10.   In or around April 2015, Plaintiff moved to West Virginia to live with Defendant.

         11.   Plaintiff and the Defendant were married shortly thereafter, in May of 2015.

         12.   Shortly after Plaintiff and Defendant were married, he informed her that she was

required to work for him “to pay her expenses.” Plaintiff was shocked by this demand, as she was

never told that she would need to work for Defendant once she arrived in the United States.

         13.   Plaintiff was thereafter forced to work for Defendant for over three years, from

March 2015 until late August 2018.

         14.   To ensure that Plaintiff continued to work for him, Defendant engaged in repeated

and regular physical and emotional abuse, economic exploitation, and threatened abuse of the legal

process, as described herein.

                   Plaintiff’s Working Conditions at Busy Bee Detail Shop

         15.   The Busy Bee Detail Shop [hereinafter “BBD”], owned and operated by Defendant

is located at 721 Elliott Ridge Road, Elkins, West Virginia 26241. Defendant is the sole proprietor

of BBD.

         16.   BBD is a detail shop where car interiors and exteriors are cleaned. The shop

services the cars of individual customers, as well as cars that other companies contract BBD to

clean.




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       17.     During the non-summer months, BBD was customarily open from 8 am to 7 pm on

weekdays. Though BBD was generally closed on weekends, the shop occasionally opened during

those hours to serve customers.

       18.     During the summer, BBD was significantly busier. To accommodate the increased

demand for services, the shop operated the same weekday hours and additionally remained open

from 8 am to 7 pm on weekends.

       19.     Defendant employed three year-round workers, one of whom was Plaintiff. During

the summer months when there was increased business, Defendant hired additional temporary

workers.

       20.     Defendant first forced Plaintiff to begin working at BBD in or around May 2015,

shortly after her marriage to Defendant.

       21.     Defendant required Plaintiff to work during all the hours that BBD was open.

Plaintiff regularly worked eleven hours a day, five days a week, in the non-summer months and

eleven hours a day, seven days a week, during the summer.

       22.     Plaintiff’s primary duty at BBD was cleaning car interiors. She spent hours each

day vacuuming car interiors, cleaning windows, and washing and polishing car exteriors.

       23.     When Plaintiff was not cleaning cars, she would be required to assist Defendant or

employees of Defendant with other work at BBD.

       24.     Defendant supervised Plaintiff’ work at BBD. He routinely assigned her the most

physically demanding and time consuming cars to clean. When Plaintiff protested these

assignments he would yell at and threaten her.

       25.     As a result of the physical demands of the work Plaintiff was required to perform

at BBD she now suffers from carpal tunnel syndrome, which will require surgical treatment.



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       26.     Plaintiff was never permitted to have keys to the shop, and was not able to

determine her own work hours. She was not permitted to solicit her own clients or decide which

cars she would clean. She was required to use specific cleaning products supplied by Defendant,

and was required to clean the cars according to his direction.

       27.     Despite this, Defendant told Plaintiff that she was self-employed, and required that

she identify herself as an independent contractor.

               Defendant’s Systematic Wage Theft and Economic Exploitation

       28.     Plaintiff was forced to work at BBD for approximately one hundred and seventy

four (174) weeks. As described above, Plaintiff’ work weeks averaged between fifty-five (55) and

seventy-seven (77) hours per week.

       29.     When Plaintiff first arrived in the United States in May 2015, she had not yet

received authorization to work in this country. Notwithstanding Defendant’s knowledge of Ms.

Plaintiff’s inability to work legally, Defendant forced Plaintiff to begin working at BBD.

       30.     During the period before Plaintiff received her work authorization, Defendant

intentionally obfuscated the meager wages that he paid her for her labor. Defendant primarily paid

Plaintiff in cash, and occasionally would have others write out checks to Plaintiff in their name.

       31.     During this period, Defendant would pay Plaintiff far below minimum wage, and

many weeks she was not paid at all despite the long hours she was forced to work.

       32.     On information and belief, Defendant did not keep records of these transactions.

       33.     The payments made to Plaintiff were far below the statutory minimum wage.

       34.     Thereafter when Plaintiff received her work authorization, Defendant told her that

she would be paid in the same manner as the other BBD employees.




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       35.     Defendant paid BBD employees based on the number of cars that had been cleaned

in a pay period. Fifty (50) percent of the total profits were taken by Defendant. The other fifty (50)

percent were to be divided equally among the workers as wages.

       36.     BBD employees, apart from Plaintiff, were paid each Friday. Defendant would

present the other employees with their paychecks, but when Plaintiff asked for hers, she would be

told that there was not enough money to pay her that week and that she would need to wait to

receive her pay.

       37.     As had been the case when she first began working, Plaintiff was paid drastically

substandard wages at an irregular rate. Plaintiff would go weeks, sometimes up to two months,

without any pay at all.

       38.     When Plaintiff did receive paychecks, they did not reflect the number of hours that

she had worked and were substantially less than what she was owed, given Defendant’s payment

practices, and substantially less than minimum wage.

       39.     In late 2017, Plaintiff requested that Defendant pay her every week, as he did the

other employees. In order to receive these weekly paychecks, Plaintiff was required to promise

that she would not try to deposit the checks until Defendant told her it was permissible to do so.

       40.     From that point on, Plaintiff received a paycheck each week. Though the amount

of those checks varied widely despite Plaintiff regular workweek, every check was substantially

lower than minimum wage.

       41.     Plaintiff is not able to drive, and therefore her only access to vehicular travel was

through Defendant. Through this mechanism of control, Defendant restricted Plaintiff’s

movement.




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        42.     Defendant would not permit Plaintiff to open a bank account in her own name or to

cash her paychecks. Instead, Defendant insisted that Plaintiff sign each check and permit him to

cash them at the bank on her behalf.

        43.     However, when Defendant cashed Plaintiff’ checks, he often returned with

substantially less cash than the value of the checks. When Plaintiff questioned this, Defendant told

her that was all she was getting.

        44.     As a result, Plaintiff received only a portion of the already meager wages that she

was being paid for her substantial labor.

        45.     On information and belief, Defendant did not keep records of the cash wages

actually paid to Plaintiff.

        46.     Further diminishing her wages, Defendant required Plaintiff to pay him out of the

little pay she did receive. At the end of each month, Defendant calculated the bills for the home

and the business and demanded that Plaintiff pay fifty (50) percent.

        47.     When Plaintiff’s low wages were not enough to pay her purported debts to

Defendant, he would become enraged – yelling, cursing, and threatening her.

        48.     As described in detail elsewhere in this complaint, Defendant would require

Plaintiff to pay him to leave the house, eliminating any possibility of her earning additional

income.

        49.     Through this structure of economic exploitation, Defendant effectively trapped

Plaintiff. She had no bank account, no money, and was restricted to the home except when

accompanied by Defendant.

        50.     Defendant leveraged the power of Plaintiff’s economic dependence frequently. For

example, Plaintiff briefly returned to Morocco to visit family. Defendant, furious that she was



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leaving, held the largest check belonging to Plaintiff and refused to return it to her until she

returned from her trip. When Plaintiff returned, he tore the check up in front of her as punishment

for her leaving.

                           Coercion, Emotional and Physical Abuse

       52.     When Plaintiff married Defendant and moved to West Virginia, Defendant

informed her that she was required to work for him to pay off her expenses. In order to exert

pressure on Plaintiff to force her to continue working, Defendant engaged in regular, repeated acts

of coercion and abuse.

       53.     Defendant restricted Plaintiff’ access to transportation, allowing him to control

when she was permitted to leave the house and where she was permitted to travel.

       54.     When Defendant did permit Plaintiff to leave the home, he required that she pay

him. He justified this practice by claiming that these payments went towards the cost of gas.

However, Plaintiff was made to pay amounts far in excess of what gas to and from her destinations

would cost.

       55.     If, after she paid her alleged debts to Defendant, Plaintiff wages were not enough

for her to pay for travel, Defendant refused to drive her, even to medical appointments.

       56.     The few times Plaintiff attempted to leave the house by walking, Defendant

followed her in the car and required that she return to the house through intimidation.

       57.     Defendant did not permit Plaintiff to interact with the community, and isolated her

to the home.

       58.     This isolation was further exacerbated by the fact that Plaintiff is not a native

English speaker, and often relied on Defendant to communicate in English.




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       59.     Further, Defendant often admonished Plaintiff when she communicated with

friends and family in Morocco.

       60.     Defendant would often use Plaintiff isolation to coerce her into continuing to live

with and work for him.

       61.     Defendant often told Plaintiff she was lucky that she had a house to stay in, and that

she should be thankful to him for providing that to her. Defendant made clear to Plaintiff that she

was not permitted to live in the house unless she continued to work for him.

       62.     On numerous occasions Defendant threatened to kick Plaintiff out of the house.

Plaintiff - without money, a connection to the community, a car, ability to communicate in English,

or an alternative livelihood – did not believe that she had options other than continuing to work

for the Defendant.

       63.     Additionally, Plaintiff as a recent immigrant to the United States and to West

Virginia was unaware of her rights as a worker or any resources that may be available to

individuals in her position.

       64.     When Plaintiff was not able to pay her alleged debts to Defendant, he became

enraged. During these periods Defendant yelled at Plaintiff, cursing at her and calling her a whore.

       65.     These regular and repeated acts of coercion and emotional abuse were punctuated

by Defendant’s physical abuse of Plaintiff.

       66.     Following Ms. Plaintiff’s escape from Defendant, she sought a Protective Order

from the Family Court of Monongalia County, West Virginia. In awarding that Protective Order,

the Court found that “[i]t is more likely than not that there is a long history of abuse wherein

Respondent has physically abused Petitioner, has pointed a gun at her, and has taken advantage of

her immigration status to impose his will upon her.”



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        67.      On one occasion, Plaintiff attempted to call the police to report the abuse she was

suffering at the hands of the Defendant. In response, Defendant grabbed her and forced her to tell

the police that there was nothing to be concerned about and that they need not come to the house.

        68.      Early on in her employment by Defendant, after she realized that she had been

deceived, Plaintiff refused to work at BBD for Defendant.

        69.      In the period during which Plaintiff was being forced to work prior to having the

appropriate work authorization an associate of Defendant threatened to report her to immigration

authorities.

        70.      Scared of the consequences she may face if she were to be reported, Plaintiff

informed Defendant that she would not work for him at BBD until she had the appropriate work

authorization.

        71.      This refusal enraged Defendant, who yelled and screamed in Plaintiff’ face. After

Plaintiff continued to refuse to work, he ultimately told her “If you don’t work, you don’t eat.”

        72.      Defendant spent the following week denying Plaintiff any food, starving her as

punishment for her refusal to work. Defendant would not allow Plaintiff to leave the house to get

food, and would not bring food to the house for her.

        73.      Plaintiff was only able to make it through this period by eating small amounts of

food she had hidden from the Defendant.

        74.      At the end of the week, Defendant provided Plaintiff with one hundred (100)

dollars, and told her that she should buy herself food with it, but that she would be required to

work from that point forward.

        75.      From this experience, Plaintiff understood that Defendant was willing to physically

harm her as punishment for refusing to work. This, paired with the other physical and emotional



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abuse which Plaintiff faced at the hands of the Defendant, coerced her into continuing to have her

labor exploited.

                                     Abuse of Legal Process

       76.     When Plaintiff complained about the conditions of her work, her lack of pay, or her

mistreatment, Defendant regularly threatened to report her to immigration authorities.

       77.     Plaintiff was scared of what punishment she might suffer for being forced to work

prior to receiving work authorization.

       78.     Plaintiff was particularly concerned that she may be sent back to Morocco. Given

the great reputational harm she would suffer as a result of her marriage and mistreatment here in

the United States, Plaintiff did not believe that it would be possible for her to return to live in

Morocco without facing irreversible and serious consequences.

       79.     Defendant’s threats, paired with these fears, led Plaintiff to believe she had no

option other than to continue working for Defendant despite the physical, emotional, and economic

abuse she was suffering.

       80.     Defendant led Plaintiff to believe that she needed to continue working for him at

BBD and that he was able to, and would, use the legal system to seek retribution against her if she

stopped working.

                                 Plaintiff’ Escape from Defendant

       81.     Throughout the period described herein, Defendant would regularly make Plaintiff

stand outside as a punishment.

       82.     In late August, 2018, Defendant again forced Plaintiff to stand outside the house as

punishment for arguing with him.




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       83.     Plaintiff was left outside, without any information about where she could turn for

resources and support.

       84.      Seeing her crying outside, a bystander called the police who came to speak to

Plaintiff and Defendant about what was happening.

       85.     After speaking with her, the police assisted Plaintiff in leaving Defendant’s control.

       86.     After Plaintiff had escaped Defendant’s control, when Defendant learned that

Plaintiff was leaving, he attempted to coerce her into returning by claiming that she needed to

provide him with all of the paychecks she had received that had not yet been cashed, promising to

write her one large check for the total value. Plaintiff refused, and asked for her final paycheck.

       87.      Defendant refused to provide Plaintiff with her final paycheck, and instead wrote

out on a slip of paper that he owed her money. Plaintiff again demanded she receive her final

paycheck.

       88.     Defendant told Plaintiff that he did not have the money to pay her, and that he

would only provide her with her final paycheck if she waited to cash it. Plaintiff agreed, and

Defendant provided her with a paycheck.

       89.     Plaintiff, as instructed by Defendant, waited two months to attempt to cash her

paychecks. At that time she was informed that there had been a stop payment placed on each of

her checks.

       90.     Following her escape from Defendant the Family Court of Monogalia County

found that he “tried to track her down necessitating her relocation to a Morgantown shelter.” That

finding was one which supported the imposition of a protective order forbidding Defendant from

possessing firearms while that order was in place.

                                             Damages



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       Plaintiff came to West Virginia having been promised a loving marriage. Instead, she spent

three years forced to work long hours with little pay, suffering emotional, physical, and economic

abuse if she didn’t comply with Defendant’s demands. In addition to the years of unpaid wages

she is owed for her forced labor, she also has suffered substantial emotional distress, and has a

number of related medical costs.

          Litigation cannot make Plaintiff whole, given the years of abuse which she suffered, but

she humbly requests this Court grant her requested relief so as to permit her to begin to repair the

harm caused by Defendant and to begin to live, and work, with dignity.

                                     CLAIMS FOR RELIEF

                                         Count One
                         Forced Labor in Violation of 18 U.S.C. § 1589

       91.      Plaintiff incorporates by reference the preceding paragraphs.

       92.      Defendant knowingly obtained Plaintiff’s labor through force, threats of force,

physical restraint, or threats of physical restraint in violation of 18 U.S.C. § 1589(a)(1).

       93.      Defendant knowingly obtained Plaintiff’s labor by means of serious harm and

threats of serious harm in violation of 18 U.S.C. § 1589(a)(2).

       94.      Defendant knowingly obtained Plaintiff’s labor by means of abuse or threatened

abuse of law or legal process in violation of 18 U.S.C. § 1589(a)(3).

       95.      Defendant knowingly obtained Plaintiff’s labor through a scheme and pattern

intended to cause Plaintiff to believe that failure to provide her labor would result in serious harm

or physical restraint in violation of 18 U.S.C. § 1589(a)(4).

       96.      Plaintiff is permitted to bring a civil action against Defendant pursuant to 18 U.S.C.

§ 1595.




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       97.       As a direct and proximate result of Defendant’s violations, Plaintiff has suffered

economic losses and severe emotional distress.

       98.       Plaintiff claims damages in an amount to be proven at trial, including attorney’s

fees and any other relief which this Court deems proper.

                                          Count Two
           Trafficking with Respect to Forced Labor in Violation of 18 U.S.C. § 1590

       99.       Plaintiff incorporates by reference the preceding paragraphs.

       100.      Defendant knowingly recruited, harbored, transported, and obtained Plaintiff for

labor or services in violation of 18 U.S.C. § 1589 when he deceived Plaintiff into moving to the

United States.

       101.      Plaintiff is permitted to bring a civil action against Defendant pursuant to 18 U.S.C.

§ 1595.

       102.      As a direct and proximate result of Defendant’s violations, Plaintiff has suffered

economic losses and severe emotional distress.

       103.      Plaintiff claims damages in an amount to be proven at trial, including attorney’s

fees and any other relief which this Court deems proper.

                                        Count Three
                  Mandatory Restitution in Accordance with 18 U.S.C. § 1593

          104.   Plaintiff incorporates by reference the preceding paragraphs.

          105.   As described herein, Defendant violated 18 U.S.C. § 1589 and 18 U.S.C. § 1590.

          106.   Plaintiff is therefore entitled to mandatory restitution in accordance with 18 U.S.C.

§ 1593(3).

                                          Count Four
                      Failure to Pay Minimum Wage, 29 U.S.C. § 201 et seq.

          107.   Plaintiff incorporates by reference the preceding paragraphs.

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       108.     The Fair Labor Standards Act mandates that employees be paid a minimum wage.

29 U.S.C. § 205(a).

       109.     Defendant failed to pay Plaintiff the required minimum wage for her hours worked.

       110.     As a direct and proximate result of Defendant’s unlawful failure to pay Plaintiff the

wages which she was due, Plaintiff lost wages in an amount to be proven at trial.

       111.     As a direct and proximate result of Defendant’s unlawful failure to pay Plaintiff the

wages which she was due, Plaintiff has incurred other costs and expenses, including attorney’s

fees, which she is entitled to recover from Defendant.

       112.     Defendant did not have a good faith basis on which to justify the continued failure

to comply with federal law, thereby justifying an award of liquidated damages.

                                       Count Five
              Failure to Pay Required Overtime Wages, 29 U.S.C. § 207 et seq.

       113.     The preceding paragraphs are incorporated by reference.

       114.     The Fair Labor Standards Act establishes “…no employer shall employ any of his

employees who in any workweek is engaged in commerce or in the production of goods for

commerce, or is employed in an enterprise engaged in commerce or in the production of goods for

commerce, for a workweek longer than forty hours unless such employee receives compensation

for his employment in excess of the hours above specified at a rate not less than one and one-half

times the regular rate at which he is employed.” 29 U.S.C. §207(a)(1).

       115.     Employees of Defendant were engaged in commerce or the production of goods for

commerce or were employed in an enterprise engaged in commerce or in the production of goods

for commerce.

       116.     Defendant failed to pay Plaintiff at a rate of at least one and one-half times her

regular rate for hours worked in excess of forty a week in violation of 29 U.S.C. §207(a)(1).

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       117.    As a direct and proximate result of Defendant’s unlawful failure to pay Plaintiff the

wages which she was due, Plaintiff lost wages in an amount to be proven at trial.

       118.    As a direct and proximate result of Defendant’s unlawful failure to pay Plaintiff the

wages which she was due, Plaintiff has incurred other costs and expenses, including attorney’s

fees, which she is entitled to recover from Defendant.

       119.    Defendant did not have a good faith basis on which to justify the continued failure

to comply with federal law, thereby justifying an award of liquidated damages.

                                         Count Six
                  Failure to Maintain Accurate Records, 29 U.S.C. § 211(c)

       120.    The preceding paragraphs are incorporated by reference.

       121.    The Fair Labor Standards Act Mandates that “[e]very employer subject to any

provision of this chapter… shall make, keep, and preserve such records of the persons employed

by him and of the wages, hours, and other conditions and practices of employment maintained by

him…” 29. U.S.C. §211(c).

       122.    Defendant failed to maintain adequate and accurate records concerning employee

wages, hours, and conditions and practices of employment as required by the Fair Labor Standards

Act.

       123.    This failure to maintain adequate records contributed to Defendant’s systemic wage

theft, as it obscured the meager wages that Plaintiff was receiving.

                                     Count Seven
              Unlawful Wage Assignment in Violation of W. Va. Code § 21-5-3(e)

       124.    Plaintiff is an employee under W. Va. Code § 21-5-1(3).

       125.    Defendant is an employer under W. Va. Code § 21-5-1(m).




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         126.   Defendant, in requiring that Defendant pay monthly “debts” for the operation of

BBD out of the wages which she received, unlawfully assigned Plaintiff’s future wages in violation

of W. Va. Code § 21-5-1(e).

         127.   Defendant’s unlawful wage assignment continued for longer than one year, was not

in writing, was not notarized, and did not specify the amounts which Plaintiff was expected to pay.

         128.   As a direct and proximate result of Defendant’s unlawful wage assignment,

Plaintiff lost wages in an amount to be proven at trial.

         129.   As a direct and proximate result of Defendant’s unlawful wage assignment,

Plaintiff has incurred other costs and expenses, including attorney’s fees, which she is entitled to

recover from Defendant.

                                    Count Eight
           Unlawful Wage Payment Practices in Violation of W. Va. Code § 21-5-3

         130.   Plaintiff is an employee under W. Va. Code § 21-5-1(3).

         131.   Defendant is an employer under W. Va. Code § 21-5-1(m).

         132.   Defendant regularly, repeatedly, and customarily failed to pay Plaintiff twice each

month.

         133.   Defendant regularly, repeatedly, and customarily allowed more than nineteen days

to pass between payments made to Plaintiff.

         134.   These unlawful payment practices contributed to Defendant’s systematic wage

theft of Plaintiff’s already substandard wages, in violation of W. Va. Code § 21-5-3(a).

         135.   As a direct and proximate result of Defendant’s unlawful wage payment practices,

Plaintiff lost wages in an amount to be proven at trial.




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       136.    As a direct and proximate result of Defendant’s unlawful wage payment practices,

Plaintiff has incurred other costs and expenses, including attorney’s fees, which she is entitled to

recover from Defendant.

                                           Count Nine
                                             Fraud

       137.    The preceding paragraphs are incorporated by reference.

       138.    Defendant misrepresented to Plaintiff that she would be able to move to the United

States in furtherance of their marital relationship and suppressed that she would be forced to work

for him without adequate compensation.

       139.    In fact, Defendant forced Plaintiff to work as his employee for nearly three years.

       140.    During the course of that employment, Defendant fraudulently represented to

Plaintiff that she would be paid based on the number of cars that she washed.

       141.    In fact, Defendant’s payments to Plaintiff were erratic and for far less wages than

what she was told by Defendant she was owed.

       142.    The Defendant’s misrepresentations and suppressions of fact were material.

       143.    The Defendant’s misrepresentations and suppressions of fact were reckless,

knowing, and/or intentional.

       144.    The Plaintiff reasonably relied upon the Defendant’s misrepresentations and

suppressions of fact when immigrating to the United States.

       145.    The Plaintiff was proximately harmed by the Defendant’s misrepresentations and

suppressions of material facts.

                                           Count Ten
                          Intentional Infliction of Emotional Distress

       146.    Plaintiff incorporates by reference the preceding paragraphs.



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       147.       The Defendant, in using the coercive and abusive tactics described herein to force

Plaintiff to provide her labor for little, and often no, pay is outrageous conduct under West Virginia

Law and constitutes and intentional infliction of emotional distress, for which punitive damages

are authorized.

       148.       As a direct and proximate result of Defendant’s violations, Plaintiff has suffered

severe emotional distress, and has incurred physical, mental, economic, and emotional damages.

       149        Plaintiff claims damages in an amount to be proven at trial, including attorney’s

fees and any other relief which this Court deems proper.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks the following relief:

       I.         Actual damages suffered by the Plaintiff including, but not limited to, stolen and

       withheld wages and amounts for past and future costs for medical and psychological care;

       II.        Liquidated damages as permitted by law;

       III.       Mandatory restitution as required by 18 U.S.C. § 1593;

       IV.        Emotional distress damages;

       V.         Punitive damages as this Court finds just;

       VI.        Costs incurred by the Plaintiff including, but not limited to, attorney’s fees and

                  costs incurred as permitted by law; and

       VII.       All other relief which this Court deems equitable, just, and proper.

              PLAINTIFF REQUESTS A JURY TRIAL ON ISSUES SO TRIABLE.

                                                                        Respectfully submitted,
                                                                        JANE DOE
                                                                        By counsel,




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___/s/Aubrey Sparks____________
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